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                     1   KASOWITZ BENSON TORRES LLP
                     2   Attorneys for Cairn Capital
                         Investment Funds ICAV
                     3   for its sub fund Cairn Capstone
                         Special Opportunities Fund
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                     7
                                                   UNITED STATES BANKRUPTCY COURT
                     8

                     9                             CENTRAL DISTRICT OF CALIFORNIA

                    10                                     LOS ANGELES DIVISION

                    11

                    12   In re:                                             Bankruptcy Case No.: 2:20-bk-15015-BR

                    13   TEMERITY TRUST MANAGEMENT, LLC,                     Chapter 11

                    14                         Debtor.                      Evidentiary Objection to Declaration of
                                                                            Hanan Kadadu in Opposition to Motion
                    15                                                      for (I) Order [Appointing] Trustee
                                                                            Pursuant to 11 U.S.C. § 1104(a), or,
                    16                                                      Alternatively, (II) Order Granting Relief
                                                                            from Stay Pursuant to 11 U.S.C. § 362(d)
                    17

                    18                                                      Date: July 21, 2020
                                                                            Time: 10:00 a.m.
                    19                                                      Place: Courtroom 1668

                    20

                    21

                    22            Cairn Capital Investment Funds ICAV, for its sub fund Cairn Capstone Special

                    23   Opportunities Fund, hereby respectfully objects to the Declaration of Hanan Kadadu in Opposition

                    24   to Motion for (I) Order [Appointing] Trustee Pursuant to 11 U.S.C. § 1104(a), or, Alternatively,

                    25   (II) Order Granting Relief from Stay Pursuant to 11 U.S.C. § 362(d) [Docket No. 37], filed by the

                    26   Debtor on July 9, 2020.

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  TORRES LLP
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                     1
                          Location             Objectionable Testimony                       Basis For Objection
                     2
                                      “On or about March 25, 2019, the Debtor
                     3                and my husband pledged their respective
                                                                                      Lack of foundation – FRE 602
                                      membership interests in Aviron Group to
                     4   ¶ 13, at     facilitate an advance to Aviron Capital         Lack of personal knowledge – FRE
                         23:18-21     with respect a film entitled After. I           602
                     5
                                      estimate that the outstanding balance of
                                                                                      Inadmissible hearsay - FRE 802
                     6                the loan to Aviron Capital is
                                      approximately $4 million.”
                     7
                                      “BlackRock contends that my husband
                     8                misused funds loaned to Aviron Capital
                                      and related companies, which are
                     9
                                      subsidiaries of the Debtor. BlackRock and
                    10                the Securities and Exchange Commission
                                      have brought civil actions against my
                    11                husband. My husband continues to defend
                                      against the BlackRock civil action after
                    12                filing an answer denying the allegations of
                                      the complaint. To my understanding, SEC
                    13                                                                Lack of foundation – FRE 602
                                      has not served the complaint in its action.
                    14   ¶ 14, at     The SEC on June 23, 2020 notified the           Lack of personal knowledge – FRE
                         23:22-24:3   court that it was continuing to investigate     602
                    15                other parties with respect to the allegations
                                                                                      Inadmissible hearsay - FRE 802
                                      in the complaint. The Department of
                    16                Justice has criminal cases against my
                    17                husband in the Southern District of New
                                      York and the Central District of
                    18                California. My husband has pled not guilty
                                      in the New York case and has not been
                    19                required to enter a plea in the California
                                      case. I am not aware of any suit brought
                    20                against it with respect to those
                    21                allegations.”

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                                      “Aviron 1703, LLC is the borrower under
                     2                a loan in the original amount of $20
                                                                                     Lack of foundation – FRE 602
                                      million from Cairn Capital Investment
                     3   ¶ 16, at     Funds ICAV (“Cairn Capital”). Cairn            Lack of personal knowledge – FRE
                         24:13-16     Capital charged a $2.4 million fee for         602
                     4                making the loan, which provided for a
                                                                                     Inadmissible hearsay - FRE 802
                     5                12% interest rate and a 24% default
                                      interest rate.”
                     6
                                      “Aviron Licensing, LLC and Aviron
                     7                Finance, LLC are also guarantors of the        Lack of foundation – FRE 602
                                      loan from Cairn Capital. The loan is also
                     8   ¶ 17, at                                                    Lack of personal knowledge – FRE
                                      secured by proceeds from the distribution
                         24:18-21                                                    602
                     9                of Serenity, which have resulted in
                                      $13,479,542 in collections and payments        Inadmissible hearsay - FRE 802
                    10                on the loan.”

                    11                                                               Lack of foundation – FRE 602
                                      “Cairn Capital began charging a 24%
                    12   ¶ 18, at                                                    Lack of personal knowledge – FRE
                                      default interest rate from February 11,
                         24:23                                                       602
                                      2019 onward.”
                    13                                                               Inadmissible hearsay - FRE 802
                    14
                                      “Generally, all of Cairn Capital’s default
                    15                claims were refuted in a series of
                                      communications from both Aviron and its
                    16                counsel in the months following the faulty
                                      February declaration of default.
                    17                                                               Lack of foundation – FRE 602
                                      ...
                    18                                                               Lack of personal knowledge – FRE
                         ¶ 18, at                                                    602
                    19   24:24-26:6   This unilateral action by exhibitors did not
                                      constitute a default by Aviron. In any         Speculation – FRE 602
                    20                event, the exhibitors’ actions were quickly    Inadmissible hearsay - FRE 802
                                      and easily remedied by accounting
                    21                adjustments.”
                    22

                    23

                    24                “On May 24, 2019, Cairn Capital agreed         Lack of foundation – FRE 602
                                      to forbear enforcing certain alleged rights    Lack of personal knowledge – FRE
                    25   ¶ 19, at     with respect to the NRG reporting              602
                    26   26:7-9       allegations and the exhibitor
                                      recoupment/offset issue if it received $3      Speculation – FRE 602
                    27                million by July 15, 2019, which it did.”       Inadmissible hearsay - FRE 802
                    28
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                                    “Although the Debtor does not have cash
                     2              on hand to repay the loan to Aviron 1703,     Lack of foundation – FRE 602
                                    LLC, the Beverly Hills Property is worth
                     3              at least $17.5 million, significantly more    Lack of personal knowledge – FRE
                                    than the disputed $14.7 million inflated      602
                     4   ¶ 25, at
                                    balance of the Cairn Capital loan             Inadmissible lay testimony;
                         27:9-15
                     5              guaranteed by the Debtor. Combined with       unqualified expert testimony – FRE
                                    the approximately $3 to $5 million in         701 and 702
                     6              other collateral securing the Cairn Capital
                                    loan, there is a significant equity cushion   Inadmissible hearsay - FRE 802
                     7              protecting Cairn Capital.”
                     8              “The Cairn Capital loan was made to the
                     9              Debtor’s subsidiary Aviron 1703, LLC,
                                    the maker of the film Serenity. The film
                    10              has grossed $14,454,622 at domestic and
                                    international theaters and $7,895,000 in
                    11              the home performance market where it
                                    continues to generate significant revenue,
                    12              especially during this pandemic. The loan
                    13              is secured by the film and its proceeds,
                                    which includes distribution contracts with    Lack of foundation – FRE 602
                    14              Amazon Digital Services, LLC (Delaware)
                         ¶ 26, at                                                 Lack of personal knowledge – FRE
                                    and Universal Pictures Home
                    15   27:16-25                                                 602
                                    Entertainment. The Amazon contract
                                    payments are fixed and an additional          Inadmissible hearsay - FRE 802
                    16              $1,369,234 remains to be paid in four
                    17              quarterly installments. The Universal
                                    contract is based on viewer demand.
                    18              Before the film was distributed by
                                    Universal, it estimated that the film would
                    19              generate $5,537,000 in revenue. These
                                    contracts involve an upfront payment at a
                    20
                                    significant percentage of the estimated
                    21              contract revenue.”

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                     1
                                      “In my experience, companies like
                     2                Universal therefore underestimate revenue
                                      to protect themselves from any risk of an
                     3                overpayment. The actual revenue almost        Lack of foundation – FRE 602
                                      always significantly exceeds the initial      Lack of personal knowledge – FRE
                     4                estimate. Since the Universal contract for    602
                     5   ¶ 26, at     Serenity began, the film has generated to
                         27:25-28:3   date $4.7 million in revenue. Because of      Inadmissible lay testimony;
                     6                the ongoing pandemic, at home viewing         unqualified expert testimony – FRE
                                      by the public is exceeding those pre-         701 and 702
                     7                pandemic estimates. I therefore estimate      Inadmissible hearsay - FRE 802
                                      that the Universal contract will bring in
                     8
                                      from $836,000 to $2.5 million during the
                     9                next two years.”

                    10                                                              Lack of foundation – FRE 602
                                      “Free television sales typically equal
                                      about 8.6% of the domestic box office,        Lack of personal knowledge – FRE
                    11
                                      after sales commissions. Thus, I expect       602
                         ¶ 27, at
                    12                free television sales to exceed $700,000.     Inadmissible lay testimony;
                         28:4-6
                                      Similarly, library rights, including second   unqualified expert testimony – FRE
                    13                cycle rights, are expected to bring in at     701 and 702
                                      least $750,000.”
                    14                                                              Inadmissible hearsay - FRE 802
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                     1
                                    “The fair market value of the Beverly
                     2              Hills Property is at least $17.5 million.
                                    From my work in the real estate industry
                     3              and from living in the area for three years,
                                    I have become intimately familiar with
                     4              the real estate market in the area around
                     5              the Beverly Hills Property and in Los
                                    Angeles generally for this type of
                     6              residence. I have also gathered
                                    information about the local real estate        Lack of foundation – FRE 602
                     7              market through an analysis of comparable
                                                                                   Lack of personal knowledge – FRE
                                    properties. I obtained those comparables
                     8                                                             602
                         ¶ 28, at   from two real estate brokers. The
                     9   28:7-17    comparables are attached as Exhibits 2         Inadmissible lay testimony;
                                    and 3. One of those brokers believes that      unqualified expert testimony – FRE
                    10              the Beverly Hills Property is worth at         701 and 702
                                    least $17.5 million and the other believes     Inadmissible hearsay - FRE 802
                    11              it is worth at least $15.5 million. Based
                                    on everything I have learned about the
                    12
                                    Beverly Hills Property, the local real
                    13              estate market, and the market for similar
                                    residences, and based on my experience
                    14              in the real estate industry, the fair market
                                    value of the Beverly Hills Property is at
                    15              least $17.5 million.”
                    16

                    17              “Based on my real estate experience and        Lack of foundation – FRE 602
                                    the research I have conducted into the         Lack of personal knowledge – FRE
                    18
                                    value of the Beverly Hills Property, the       602
                    19   ¶ 29, at   value of the Beverly Hills Property is also
                         28:18-21   stable and not declining. To the contrary,     Inadmissible lay testimony;
                    20              based on my experience and my research         unqualified expert testimony – FRE
                                    into recent activity, I believe it is          701 and 702
                    21              increasing in value.”                          Inadmissible hearsay - FRE 802
                    22
                                                                                   Lack of foundation – FRE 602
                    23                                                             Lack of personal knowledge – FRE
                                    “Based on my real estate experience and
                    24              my research, the rental value of the           602
                         ¶ 30, at
                                    Beverly Hills Property is $25,000 to           Inadmissible lay testimony;
                    25   28:26-28
                                    $30,000, which is higher than when the         unqualified expert testimony – FRE
                                    Debtor purchased the property.”                701 and 702
                    26
                                                                                   Inadmissible hearsay - FRE 802
                    27

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                     1
                                                                                      Lack of foundation – FRE 602
                     2                   “Based on my experience in the real estate   Lack of personal knowledge – FRE
                                         industry and my research, I believe that     602
                     3   ¶ 37, at        the interest rate on those deferred
                         30:7-9          payments would be significantly less than    Inadmissible lay testimony;
                     4                                                                unqualified expert testimony – FRE
                                         the 24% interest rate in the loan
                                         documents.”                                  701 and 702
                     5
                                                                                      Inadmissible hearsay - FRE 802
                     6
                                                                                      Lack of foundation – FRE 602
                     7
                                                                                      Lack of personal knowledge – FRE
                     8                                                                602
                         Ex. 2, at 35    [Attachment]                                 Inadmissible lay testimony;
                     9
                                                                                      unqualified expert testimony – FRE
                    10                                                                701 and 702
                    11                                                                Inadmissible hearsay - FRE 802

                    12                                                                Lack of relevance – FRE 401

                    13                                                                Lack of foundation – FRE 602
                                                                                      Lack of personal knowledge – FRE
                    14   Ex. 3, at 38-                                                602
                                         [Attachment]
                         42
                    15                                                                Inadmissible lay testimony;
                                                                                      unqualified expert testimony – FRE
                    16                                                                701 and 702
                    17                                                                Inadmissible hearsay - FRE 802

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                     1   Dated: July 14, 2020
                     2
                                                                  KASOWITZ BENSON TORRES LLP
                     3

                     4
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                    13

                    14
                                                                  Attorneys for Cairn Capital Investment Funds ICAV,
                    15                                            for its sub fund Cairn Capstone Special
                                                                  Opportunities Fund
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                                                                      Evidentiary Objection to Declaration of
A true and correct copy of the foregoing document entitled (specify): __________________________________________
________________________________________________________________________________________________
 Hanan Kadadu in Opposition to Motion for (I) Order [Appointing] Trustee Pursuant to 11 U.S.C. § 1104(a), or,
________________________________________________________________________________________________
 Alternatively, (II) Order Granting Relief From Automatic Stay Pursuant to 11 U.S.C. § 362(d)
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
07/14/2020          I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
  David B Golubchik – dbg@lnbyb.com
  Kurt Ramlo – kr@lnbyb.com
  Ron Maroko – ron.maroko@usdoj.gov
  United States Trustee (L.A.) – ustpregion16.la.ecf@usdoj.gov
                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

07/14/2020         Andrew R.J. Muir                                                            /s/ Andrew R.J. Muir
 Date                       Printed Name                                                        Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
